  19-05053-cag Doc#65 Filed 12/18/19 Entered 12/18/19 09:45:32 Ntc/Hrg AP int ptys Pg 1
                                         of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 19−50900−cag
                                                                            No.:
                                                                    Chapter No.: 7
IN RE: Legendary Field Exhibitions, LLC and
Ebersol Sports Media Group, Inc. , Debtor(s)

                                                            Adversary Proceeding
                                                                                  19−05053−cag
                                                                             No.:
                                                                          Judge: Craig A. Gargotta
                                                        Colton Schmidt et al.
                                                        Plaintiff
                                                   v.
                                                        AAF Players, LLC et al.
                                                        Defendant



                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

          S.A. Courtroom 3, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San Antonio, TX
     at   78205

     on   1/13/20 at 10:00 AM

     Hearing to Consider and Act Upon the Following: (related document(s): 38 Defendant Thomas G. Dundon 's
     Motion to Dismiss Case For Failure To State A Claim For Relief filed by Brent D. Hockaday for Defendant
     Thomas G. Dundon (Attachments: # 1 Proposed Order)(Hockaday, Brent) Modified on 11/25/2019 ., 46
     Motion To Dismiss Plaintiffs' First Amended Class Action Complaint For Damages With Prejudice Filed by
     William N Radford for Defendant Charles Ebersol. (Attachments: # 1 Proposed order) (Radford, William)
     Modified on 11/26/2019 (Paez, Daniel). Related document(s) 23 Amended Complaint filed by Plaintiff Colton
     Schmidt, Plaintiff Reggie Northrup. Modified on 11/26/2019 .) Hearing Scheduled For 1/13/2020 at 10:00
     AM at SA Courtroom 3 (Elizondo, Lisa)


Dated: 12/18/19
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                           [Hearing Notice (AP)] [NtchrgAPap]
